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                                             EXHIBIT 1



.COM DOMAINS


Reeistrv
Verisign,Inc.
Verisign Information Services,Inc.
Verisign Global Registry Services
12061 Bluemont Way
Reston Virginia 20190
United States


OFFICEINVENTORYS.COM          Registrar
                              Namecheap Inc.
                              4600 East Washington Street, Suite 305
                              Phoenix, AZ 85034

                              Domain name: officeinventoiys.com
                              Registry Domain ID: 2502955959_DOMAIN_COM-VRSN
                              Registrar WHOIS Server: whois.namecheap.com
                              Registrar URL: http://www.namecheap.com
                              Updated Date: O0Ol-01-01TO0:00:00.0OZ
                              Creation Date: 2020-03-13T16:12:21.00Z
                              Registrar Registration Expiration Date: 2021-03-13T16:12:21.00Z
                              Registrar: NAMECHEAP INC
                              Registrar lANA ID: 1068
                              Registrar Abuse Contact Email: abuse@namecheap.com
                              Registrar Abuse Contact Phone:+1.6613102107
                              Reseller: NAMECHEAP INC
                              Domain Status: clientTransferProhibited
                              https://icann.0rg/epp#clientTransferProhibited
                              Domain Status: ad(fferiod https://icann.0rg/epp#addPeriod
                              Registry Registrant ID:
                              Registrant Name: WhoisGuard Protected
                              Registrant Organization: WhoisGuard,Inc.
                              Registrant Street: P.O. Box 0823-03411
                              Registrant City: Panama
                              Registrant State/Province: Panama
                              Registrant Postal Code:
                              Registrant Country: PA
                              Registrant Phone: +507.8365503
                              Registrant Phone Ext:
                              Registrant Fax: +51.17057182
                              Registrant Fax Ext:
                              Registrant Email:
                              649712c9fae543dbb1 aea0fd78c804ed.protect@whoisguard.com
                              Registry Admin ID:
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